                           Case 9:16-bk-06499-FMD                          Doc 14        Filed 08/29/16            Page 1 of 48


  Fill in this information to identify your case and this filing:
  Debtor 1               Chris                       E.                  Carhart
                         First Name                  Middle Name         Last Name

  Debtor 2
  (Spouse, if filing) First Name                     Middle Name         Last Name


  United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

  Case number
                                                                                                                            Check if this is an
  (if known)
                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                       What is the property?                         Do not deduct secured claims or exemptions. Put the
621 Seaview Court                                          Check all that apply.                         amount of any secured claims on Schedule D:
Street address, if available, or other description             Single-family home                        Creditors Who Have Claims Secured by Property.
                                                               Duplex or multi-unit building             Current value of the       Current value of the
                                                               Condominium or cooperative                entire property?           portion you own?
Marco Island                     FL       34145                Manufactured or mobile home                         $134,662.00                $134,662.00
City                             State    ZIP Code             Land
                                                               Investment property                       Describe the nature of your ownership
                                                               Timeshare                                 interest (such as fee simple, tenancy by the
Collier                                                                                                  entireties, or a life estate), if known.
                                                               Other
County
                                                                                                         50%
                                                           Who has an interest in the property?
Homestead                                                  Check one.
(FMV $269,325)
                                                               Debtor 1 only                                Check if this is community property
                                                               Debtor 2 only                                (see instructions)
                                                               Debtor 1 and Debtor 2 only
                                                               At least one of the debtors and another

                                                           Other information you wish to add about this item, such as local
                                                           property identification number:




Official Form 106A/B                                                   Schedule A/B: Property                                                       page 1
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Debtor 1         Chris                      E.                    Carhart                              Case number (if known)
                 First Name                 Middle Name           Last Name

1.2.                                                      What is the property?                              Do not deduct secured claims or exemptions. Put the
3562 White Eagle Drive                                    Check all that apply.                              amount of any secured claims on Schedule D:
Street address, if available, or other description            Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the            Current value of the
                                                              Condominium or cooperative                     entire property?                portion you own?
Naperville                       IL       60564               Manufactured or mobile home                                $799,000.00                 $799,000.00
City                             State    ZIP Code            Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.
County
                                                                                                             50
                                                          Who has an interest in the property?
Home in IL                                                Check one.
(TENANTS BY THE ENTIRETIES NON
                                                              Debtor 1 only                                       Check if this is community property
SECTION 541 PROPERTY)
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                          Other information you wish to add about this item, such as local
                                                          property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................           $933,662.00


  Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                      Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                         Audi                        Check one.                                         amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        A4 2.0 T
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                         2012                                                                    entire property?                       portion you own?
                                                              Debtor 1 and Debtor 2 only
Approximate mileage: 20,000                                   At least one of the debtors and another            $16,525.00                           $16,525.00
Other information:
2012 Audi A4 2.0 T (approx. 20000                             Check if this is community property
miles)                                                        (see instructions)
SEE APPRAISAL ATTACHED
3.2.                                                      Who has an interest in the property?               Do not deduct secured claims or exemptions. Put the
Make:                         Nissan                      Check one.                                         amount of any secured claims on Schedule D:
                                                              Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                        Juke S 2WD
                                                              Debtor 2 only                           Current value of the                   Current value of the
Year:                         2011
                                                              Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage: 60,000                                   At least one of the debtors and another            $12,125.00                           $12,125.00
Other information:
2011 Nissan Juke S 2WD (approx.                               Check if this is community property
60000 miles)                                                  (see instructions)
4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 2
                            Case 9:16-bk-06499-FMD                        Doc 14           Filed 08/29/16               Page 3 of 48

Debtor 1        Chris                          E.               Carhart                              Case number (if known)
                First Name                     Middle Name      Last Name

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $28,650.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               1/2 interest in Household goods, furnishings, appliances, books & pictures                                            $2,109.00
                                    (FMV $4,218)
7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               1/2 interest in electronics                                                                                           $1,500.00
                                    (FMV $3,000)
8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe............
                               Wearing apparel                                                                                                         $400.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
           No
           Yes. Describe............
                               Watch and wedding ring                                                                                                  $250.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
           No
           Yes. Describe............

14. Any other personal and household items you did not already list, including any health aids you
    did not list
           No
           Yes. Give specific
           information......................




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 3
                               Case 9:16-bk-06499-FMD                                           Doc 14                Filed 08/29/16                         Page 4 of 48

Debtor 1          Chris                            E.                               Carhart                                         Case number (if known)
                  First Name                       Middle Name                      Last Name

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                   $4,259.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                       Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                       portion you own?
                                                                                                                                                                                       Do not deduct secured
                                                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
                                                                                                                                                                                                                   $335.00
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                   Institution name:

             17.1.       Checking account:                      Checking accounts                                                                                                                       $1,345.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
            No
            Yes. Give specific
            information about
            them...............................................
                                               Name of entity:                                                                                          % of ownership:

                                                Carhart Equipment                                                                                               100%                                            $1.00
                                                Carhart International                                                                                           100%                                            $1.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
            No
            Yes. Give specific
            information about
            them...............................................
                                               Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
            No
            Yes. List each
            account separately.               Type of account:                   Institution name:




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                                  page 4
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Debtor 1         Chris                         E.                        Carhart                      Case number (if known)
                 First Name                    Middle Name               Last Name

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                        Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them

Money or property owed to you?                                                                                                            Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                                      Federal:                  $0.00
           about them, including whether
           you already filed the returns                                                                                       State:                    $0.00
           and the tax years.....................................
                                                                                                                               Local:                    $0.00

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                         Alimony:                               $0.00
                                                                                                                  Maintenance:                           $0.00

                                                                                                                  Support:                               $0.00
                                                                                                                  Divorce settlement:                    $0.00

                                                                                                                  Property settlement:                   $0.00

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information Carhart-Halaska Int'l                                                                                   $241,567.00


Official Form 106A/B                                                         Schedule A/B: Property                                                       page 5
                             Case 9:16-bk-06499-FMD                                  Doc 14              Filed 08/29/16                   Page 6 of 48

Debtor 1         Chris                        E.                           Carhart                                   Case number (if known)
                 First Name                   Middle Name                  Last Name

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................     Company name:                                                Beneficiary:                                Surrender or refund value:

                                                   1 term life insurance policy                                                                                            Unknown
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................   $243,249.00


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................
                              Miscellaneous hand tools                                                                                                                       $550.00

41. Inventory

            No
            Yes. Describe................



Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
                              Case 9:16-bk-06499-FMD                                 Doc 14              Filed 08/29/16                   Page 7 of 48

Debtor 1          Chris                         E.                         Carhart                                   Case number (if known)
                  First Name                    Middle Name                Last Name

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................       $550.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
                               Case 9:16-bk-06499-FMD                                       Doc 14               Filed 08/29/16                      Page 8 of 48

Debtor 1           Chris                         E.                             Carhart                                       Case number (if known)
                   First Name                    Middle Name                    Last Name


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

             No
             Yes. Give specific information.
              Personal papers                                                                                                                                                               $1.00


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                                        $1.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $933,662.00

56. Part 2: Total vehicles, line 5                                                                                  $28,650.00

57. Part 3: Total personal and household items, line 15                                                               $4,259.00

58. Part 4: Total financial assets, line 36                                                                       $243,249.00

59. Part 5: Total business-related property, line 45                                                                     $550.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $1.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................           $276,709.00               property total                 +          $276,709.00



63. Total of all property on Schedule A/B.                                                                                                                                              $1,210,371.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                  page 8
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                  Scanned Document #1
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 Fill in this information to identify your case:
 Debtor 1            Chris                E.                     Carhart
                     First Name           Middle Name            Last Name
 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA
                                                                                                                     Check if this is an
 Case number                                                                                                         amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $134,662.00                 $269,325.00         Fla. Const. art. X § 4(a)(1); Fla. Stat.
621 Seaview Court                                                                 100% of fair market     Ann. §§ 222.01, .02
Homestead                                                                         value, up to any
(FMV $269,325)                                                                    applicable statutory
Line from Schedule A/B:      1.1                                                  limit

Brief description:                                        $799,000.00                 $339,000.00         11 U.S.C. § 522(b)(3)(B)
3562 White Eagle Drive                                                            100% of fair market
Home in IL                                                                        value, up to any
(TENANTS BY THE ENTIRETIES NON                                                    applicable statutory
SECTION 541 PROPERTY)                                                             limit
Line from Schedule A/B: 1.2




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
                      Case 9:16-bk-06499-FMD                  Doc 14       Filed 08/29/16           Page 15 of 48

Debtor 1      Chris              E.                    Carhart                       Case number (if known)
              First Name         Middle Name           Last Name


 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $16,525.00                $1,000.00          Fla. Stat. Ann. § 222.25(1)
2012 Audi A4 2.0 T (approx. 20000 miles)                                     100% of fair market
SEE APPRAISAL ATTACHED                                                       value, up to any
Line from Schedule A/B: 3.1                                                  applicable statutory
                                                                             limit

Brief description:                                      $2,109.00                 $999.00           Fla. Const. art. X, § 4(a)(2)
1/2 interest in Household goods,                                             100% of fair market
furnishings, appliances, books & pictures                                    value, up to any
(FMV $4,218)                                                                 applicable statutory
Line from Schedule A/B:  6                                                   limit

Brief description:                                      Unknown                     $0.00           Fla. Stat. Ann. § 222.13
1 term life insurance policy                                                 100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    31
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $1.00                     $1.00           Fla. Const. art. X, § 4(a)(2)
Personal papers                                                              100% of fair market
                                                                             value, up to any
Line from Schedule A/B:    53
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
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  Fill in this information to identify your case:
  Debtor 1             Chris                 E.                     Carhart
                       First Name            Middle Name            Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

  Case number
                                                                                                                        Check if this is an
  (if known)
                                                                                                                        amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one              Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As           Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the          Do not deduct the      that supports this     portion
        creditor's name.                                                                  value of collateral    claim                  If any

  2.1                                             Describe the property that
                                                  secures the claim:                           $460,000.00             $799,000.00
Bank of America                                   3562 White Eagle Drive
Creditor's name
PO Box 31785
Number       Street


                                                  As of the date you file, the claim is: Check all that apply.
                                                      Contingent
Tampa                    FL      33631-3785           Unliquidated
City                     State   ZIP Code
                                                      Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                            Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $460,000.00

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                             $460,000.00

Official Form 106D                          Schedule D: Creditors Who Have Claims Secured by Property                                          page 1
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 Fill in this information to identify your case:
 Debtor 1           Chris                  E.                     Carhart
                    First Name             Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name            Middle Name            Last Name


 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 Case number
                                                                                                                      Check if this is an
 (if known)
                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


 Part 1:       List All of Your PRIORITY Unsecured Claims
1.   Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
          Yes.

2.   List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
     claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
     show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
     more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
     claim, list the other creditors in Part 3.

     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                    Total claim       Priority              Nonpriority
                                                                                                                      amount                amount




Official Form 106E/F                            Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1
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Debtor 1       Chris                    E.                    Carhart                           Case number (if known)
               First Name               Middle Name           Last Name


  Part 2:        List All of Your NONPRIORITY Unsecured Claims

3.     Do any creditors have nonpriority unsecured claims against you?
            No. You have nothing to report in this part. Submit this form to the court with you other schedules.
            Yes

4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
       If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
       type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
       Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                              Total claim

     4.1                                                                                                                                     $2,243,621.00
Cade Law Group LLC                                          Last 4 digits of account number
Nonpriority Creditor's Name
                                                            When was the debt incurred?
PO Box 170887
Number        Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Milwaukee                       WI       53217
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

     4.2                                                                                                                                          Unknown
Carhart-Halaska Int'l LLC/Halaska Int't                     Last 4 digits of account number         0     4    1     2
Nonpriority Creditor's Name
                                                            When was the debt incurred?
c/o Cade Law Group
Number        Street                                        As of the date you file, the claim is: Check all that apply.
PO Box 596                                                      Contingent
                                                                Unliquidated
                                                                Disputed
Lake Bluff                      IL       60044
City                            State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                               Student loans
   Debtor 1 only
                                                               Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                               that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                               Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                               Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2
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Debtor 1       Chris                  E.                    Carhart                         Case number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.3                                                                                                                              Unknown
Chris Halaska                                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
c/o Cade Law Group, LLC
Number        Street                                      As of the date you file, the claim is: Check all that apply.
P.O. Box 596                                                  Contingent
                                                              Unliquidated
                                                              Disputed
Lake Bluff                    IL       60044
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                              Unknown
Halaska International, LLC                                Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
c/o Cade Law Group, LLC
Number        Street                                      As of the date you file, the claim is: Check all that apply.
P.O. Box 596                                                  Contingent
                                                              Unliquidated
                                                              Disputed
Lake Bluff                    IL       60044
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes

   4.5                                                                                                                              Unknown
Hinshaw & Culbertson, LLP                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                          When was the debt incurred?
222 N. LaSalle Street, Suite 300
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
Chicago                       IL       60601
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt
Is the claim subject to offset?
     No
     Yes


Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 3
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Debtor 1       Chris                  E.                    Carhart                         Case number (if known)
               First Name             Middle Name           Last Name


  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.6                                                                                                                                  $0.00
Internal Revenue Service                                  Last 4 digits of account number       5    8    3    2
Nonpriority Creditor's Name
                                                          When was the debt incurred?
PO Box 7346
Number        Street                                      As of the date you file, the claim is: Check all that apply.
                                                              Contingent
                                                              Unliquidated
                                                              Disputed
Philadelphia                  PA       19101-7346
City                          State    ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt?      Check one.
                                                             Student loans
   Debtor 1 only
                                                             Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                             that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                             Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                             Other. Specify
       Check if this claim is for a community debt            Notice Only
Is the claim subject to offset?
     No
     Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                     page 4
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Debtor 1       Chris                    E.                      Carhart                    Case number (if known)
               First Name               Middle Name             Last Name


 Part 4:        Add the Amounts for Each Type of Unsecured Claim

6.   Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
     28 U.S.C. § 159. Add the amounts for each type of unsecured claim.


                                                                                                                   Total claim

Total claims        6a. Domestic support obligations                                                     6a.                     $0.00
from Part 1
                    6b. Taxes and certain other debts you owe the government                             6b.                     $0.00

                    6c. Claims for death or personal injury while you were intoxicated                   6c.                     $0.00

                    6d. Other. Add all other priority unsecured claims. Write that amount here.          6d.   +                 $0.00


                    6e. Total.       Add lines 6a through 6d.                                            6d.                     $0.00




                                                                                                                   Total claim

Total claims        6f.     Student loans                                                                6f.                     $0.00
from Part 2
                    6g. Obligations arising out of a separation agreement or divorce                     6g.                     $0.00
                        that you did not report as priority claims

                    6h. Debts to pension or profit-sharing plans, and other similar                      6h.                     $0.00
                        debts

                    6i.     Other. Add all other nonpriority unsecured claims. Write that amount here.   6i.   +      $2,243,621.00


                    6j.     Total.   Add lines 6f through 6i.                                            6j.          $2,243,621.00




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                      page 5
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 Fill in this information to identify your case:
 Debtor 1            Chris                E.                     Carhart
                     First Name           Middle Name            Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name            Last Name


 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).


1.   Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2.   List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
     is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
     executory contracts and unexpired leases.

        Person or company with whom you have the contract or lease                   State what the contract or lease is for




Official Form 106G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
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 Fill in this information to identify your case:
 Debtor 1            Chris               E.                      Carhart
                     First Name          Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name          Middle Name             Last Name


 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 Case number
                                                                                                                    Check if this is an
 (if known)
                                                                                                                    amended filing



Official Form 106H
Schedule H: Your Codebtors                                                                                                                12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.


1.   Do you have any codebtors?       (If you are filing a joint case, do not list either spouse as a codebtor.)
         No
         Yes

2.   Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
     include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
              No
              Yes
3.   In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
     person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
     creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
     Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt

                                                                                             Check all schedules that apply:




Official Form 106H                                         Schedule H: Your Codebtors                                                     page 1
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 Fill in this information to identify your case:
     Debtor 1                Chris                E.                     Carhart
                             First Name           Middle Name            Last Name                            Check if this is:
     Debtor 2                                                                                                      An amended filing
     (Spouse, if filing)     First Name           Middle Name            Last Name
                                                                                                                   A supplement showing postpetition
     United States Bankruptcy Court for the:     MIDDLE DISTRICT OF FLORIDA
                                                                                                                   chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                   MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                               Debtor 1                                            Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page         Employment status             Employed                                            Employed
      with information about                                            Not employed                                        Not employed
      additional employers.
                                          Occupation
      Include part-time, seasonal,
      or self-employed work.              Employer's name

      Occupation may include              Employer's address
      student or homemaker, if it                                Number Street                                       Number Street
      applies.




                                                                 City                          State   Zip Code      City                   State   Zip Code

                                          How long employed there?


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1            For Debtor 2 or
                                                                                                                       non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                        $0.00                   $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                         3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                    4.                  $0.00                   $0.00




Official Form 106I                                              Schedule I: Your Income                                                                 page 1
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Debtor 1 Chris                                  E.                                 Carhart                                            Case number (if known)
            First Name                          Middle Name                        Last Name
                                                                                                                        For Debtor 1                  For Debtor 2 or
                                                                                                                                                      non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                       $0.00                $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                          5a.                  $0.00                     $0.00
     5b. Mandatory contributions for retirement plans                                                           5b.                  $0.00                     $0.00
     5c. Voluntary contributions for retirement plans                                                           5c.                  $0.00                     $0.00
     5d. Required repayments of retirement fund loans                                                           5d.                  $0.00                     $0.00
     5e. Insurance                                                                                              5e.                  $0.00                     $0.00
     5f. Domestic support obligations                                                                           5f.                  $0.00                     $0.00
     5g. Union dues                                                                                             5g.                  $0.00                     $0.00
     5h. Other deductions.
          Specify:                                                                                              5h. +                $0.00                     $0.00
6.   Add the payroll deductions.                     Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.                   $0.00                     $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                           Subtract line 6 from line 4.              7.                   $0.00                     $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                   8a.                  $0.00                     $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                                 8b.                  $0.00                     $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                            8c.                  $0.00                     $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                              8d.                  $0.00                     $0.00
     8e. Social Security                                                                                        8e.                  $0.00                     $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                               8f.                  $0.00                     $0.00
     8g. Pension or retirement income                                                                           8g.                  $0.00                     $0.00
     8h. Other monthly income.
         Specify:                                                                                               8h. +                $0.00                     $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                     9.                   $0.00                     $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                              10.                  $0.00        +            $0.00      =           $0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                     11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                     12.                 $0.00
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                            Combined
                                                                                                                                                                              monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form 106I                                                                  Schedule I: Your Income                                                                            page 2
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 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1                Chris                E.                     Carhart                             An amended filing
                             First Name           Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2
     (Spouse, if filing)     First Name           Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    MIDDLE DISTRICT OF FLORIDA                                     MM / DD / YYYY
     Case number
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Spouse
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.                    $442.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
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Debtor 1 Chris                      E.                     Carhart                     Case number (if known)
            First Name              Middle Name            Last Name

                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                    $60.00
     6b. Water, sewer, garbage collection                                                           6b.

     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                   $168.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                    $500.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.

10. Personal care products and services                                                             10.                    $50.00
11. Medical and dental expenses                                                                     11.

12. Transportation. Include gas, maintenance, bus or train                                          12.                    $70.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                         15a.                  $355.00
     15b.    Health insurance                                                                       15b.                  $494.00
     15c.    Vehicle insurance                                                                      15c.                   $90.00
     15d.    Other insurance. Specify:    Flood                                                     15d.                  $250.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify: Property taxes                                                                         16.                   $260.00
17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                             17a.

     17b.    Car payments for Vehicle 2                                                             17b.

     17c.    Other. Specify:                                                                        17c.

     17d.    Other. Specify:                                                                        17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                         page 2
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Debtor 1 Chris                        E.                    Carhart                            Case number (if known)
           First Name                 Middle Name           Last Name

20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.        $1,725.00
    20b.    Real estate taxes                                                                                20b.        $1,477.00
    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: See continuation sheet                                                                   21.    +      $665.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.        $6,606.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.        $6,606.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.            $0.00
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –    $6,606.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.       ($6,606.00)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form 106J                                         Schedule J: Your Expenses                                         page 3
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Debtor 1 Chris               E.            Carhart                     Case number (if known)
         First Name          Middle Name   Last Name



21. Other. Specify:
    Electricity                                                                                 $375.00
    Water and sewer/Naperville IL                                                               $120.00
    Personal care                                                                                $50.00
    Medical & dental                                                                             $60.00
    Transportation                                                                               $60.00

                                                                             Total:             $665.00




 Official Form 106J                        Schedule J: Your Expenses                               page 4
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 Fill in this information to identify your case:
 Debtor 1                Chris                         E.                            Carhart
                         First Name                    Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                        Middle Name                   Last Name


 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 Case number
                                                                                                                                                          Check if this is an
 (if known)
                                                                                                                                                          amended filing

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.



 Part 1:          Summarize Your Assets

                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1.   Schedule A/B: Property (Official Form 106A/B)
                                                                                                                                                                            $933,662.00
     1a. Copy line 55, Total real estate, from Schedule A/B.....................................................................................................................


                                                                                                                                                                       $276,709.00
     1b. Copy line 62, Total personal property, from Schedule A/B....................................................................................................................................................


                                                                                                                                                                         $1,210,371.00
     1c. Copy line 63, Total of all property on Schedule A/B..............................................................................................................................................................


 Part 2:          Summarize Your Liabilities

                                                                                                                                                                        Your liabilities
                                                                                                                                                                        Amount you owe

2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                          $460,000.00
     2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.........................

3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                  $0.00
     3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................................................................


                                                                                                                                    +           $2,243,621.00
     3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F........................................................



                                                                                                                                   Your total liabilities                      $2,703,621.00




 Part 3:          Summarize Your Income and Expenses

4.   Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                 $0.00
     Copy your combined monthly income from line 12 of Schedule I..................................................................................................................................................

5.   Schedule J: Your Expenses (Official Form 106J)
     Copy your monthly expenses from line 22c of Schedule J.........................................................................................................                  $6,606.00




Official Form 106Sum                        Summary of Your Assets and Liabilities and Certain Statistical Information                                                                        page 1
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Debtor 1      Chris                 E.                    Carhart                          Case number (if known)
              First Name            Middle Name           Last Name


 Part 4:        Answer These Questions for Administrative and Statistical Records

6.   Are you filing for bankruptcy under Chapters 7, 11, or 13?

           No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
           Yes

7.   What kind of debt do you have?

           Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
           family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
           Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from
     Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                        Total claim

     From Part 4 on Schedule E/F, copy the following:

     9a. Domestic support obligations. (Copy line 6a.)

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

     9d. Student loans. (Copy line 6f.)

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)

     9f.   Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)       +

     9g. Total.    Add lines 9a through 9f.




Official Form 106Sum               Summary of Your Assets and Liabilities and Certain Statistical Information                                page 2
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 Fill in this information to identify your case:
 Debtor 1           Chris               E.                   Carhart
                    First Name          Middle Name          Last Name

 Debtor 2
 (Spouse, if filing) First Name         Middle Name          Last Name


 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 Case number
                                                                                                             Check if this is an
 (if known)
                                                                                                             amended filing

Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,
concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below

    Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

          No

          Yes. Name of person                                                                Attach Bankruptcy Petition Preparer's Notice,
                                                                                             Declaration, and Signature (Official Form 119).




    Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are
    true and correct.



    X /s/ Chris E. Carhart                                 X
        Chris E. Carhart, Debtor 1                             Signature of Debtor 2

        Date 08/24/2016                                        Date
             MM / DD / YYYY                                           MM / DD / YYYY




Official Form 106Dec                         Declaration About an Individual Debtor's Schedules                                        page 1
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 Fill in this information to identify your case:
 Debtor 1           Chris                 E.                    Carhart
                    First Name            Middle Name           Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name           Last Name


 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 Case number
                                                                                                                Check if this is an
 (if known)
                                                                                                                amended filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.


 Part 1:       Give Details About Your Marital Status and Where You Lived Before

1.   What is your current marital status?
        Married
        Not married

2.   During the last 3 years, have you lived anywhere other than where you live now?
        No
        Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

3.   Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?
     (Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
     Washington, and Wisconsin.)
         No
         Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




Official Form 107                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
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Debtor 1       Chris                     E.                    Carhart                        Case number (if known)
               First Name                Middle Name           Last Name


 Part 2:         Explain the Sources of Your Income
4.   Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

           No
           Yes. Fill in the details.

                                                         Debtor 1                                        Debtor 2

                                                       Sources of income           Gross income         Sources of income          Gross income
                                                       Check all that apply.       (before deductions   Check all that apply.      (before deductions
                                                                                   and exclusions                                  and exclusions

From January 1 of the current year until                   Wages, commissions,                              Wages, commissions,
the date you filed for bankruptcy:                         bonuses, tips                                    bonuses, tips
                                                           Operating a business                             Operating a business


For the last calendar year:                                Wages, commissions,                              Wages, commissions,
                                                           bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2015 )
                                  YYYY                     Operating a business                             Operating a business


For the calendar year before that:                         Wages, commissions,           $22,842.00         Wages, commissions,
                                                           bonuses, tips                                    bonuses, tips
(January 1 to December 31, 2014 )
                                  YYYY                     Operating a business                             Operating a business

5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
     unemployment; and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
     and gambling and lottery winnings. If you are in a joint case and you have income that you received together, list it only once under
     Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.


                                                         Debtor 1                                        Debtor 2

                                                       Sources of income           Gross income         Sources of income          Gross income
                                                       Describe below.             from each source     Describe below.            from each source
                                                                                   (before deductions                              (before deductions
                                                                                   and exclusions                                  and exclusions

From January 1 of the current year until               Rental income                       $4,100.00
the date you filed for bankruptcy:



For the last calendar year:
(January 1 to December 31, 2015 )
                                YYYY



For the calendar year before that:
(January 1 to December 31, 2014 )
                                YYYY




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 2
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Debtor 1         Chris                  E.                     Carhart                         Case number (if known)
                 First Name             Middle Name            Last Name


  Part 3:         List Certain Payments You Made Before You Filed for Bankruptcy
6.     Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

           No.       Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
                     "incurred by an individual primarily for a personal, family, or household purpose."

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                             total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                             child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

                     During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No. Go to line 7.

                        Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                             creditor. Do not include payments for domestic support obligations, such as child support and alimony.
                             Also, do not include payments to an attorney for this bankruptcy case.

                                                               Dates of       Total amount         Amount you          Was this payment for...
                                                               payment        paid                 still owe
Bank of America                                                05/01/16,          $5,175.00          $460,000.00             Mortgage
Creditor's name                                                06/01/16 &                                                    Car
PO Box 31785                                                   07/01/16                                                      Credit card
Number      Street
                                                                                                                             Loan repayment
Tampa, FL 33631-3785
                                                                                                                             Suppliers or vendors
                                                                                                                             Other
City                                 State    ZIP Code

7.     Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
       Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
       corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
       agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
       such as child support and alimony.

           No
           Yes. List all payments to an insider.




Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1       Chris                   E.                    Carhart                          Case number (if known)
               First Name              Middle Name           Last Name

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
     benefited an insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.




 Part 4:         Identify Legal Actions, Repossessions, and Foreclosures
9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.

Case title                                   Nature of the case                        Court or agency                              Status of the case
Carhart-Halaska v Debtor                     Judgment                                  State of Wisconsin, Circuit Court
                                                                                                                                              Pending
                                                                                       Court Name
                                                                                                                                              On appeal
                                                                                       Number     Street
Case number 12 CV 000613                                                                                                                      Concluded


                                                                                       City                      State   ZIP Code


Case title                                   Nature of the case                        Court or agency                              Status of the case
Carhart-Halaska Int't v Debtor                                                         Circuit Court, 12th Judicial Circuit, IL
                                                                                                                                              Pending
                                                                                       Court Name
                                                                                                                                              On appeal
                                                                                       Number     Street
Case number 12L000412                                                                                                                         Concluded


                                                                                       City                      State   ZIP Code


Case title                                   Nature of the case                        Court or agency                              Status of the case
Hinshaw & Culbertson LLP                     Foreclosure                               Circuit Court, 12th Circuit, Kane Co, IL
                                                                                                                                              Pending
                                                                                       Court Name
                                                                                                                                              On appeal
                                                                                       Number     Street
Case number 12 L 114                                                                                                                          Concluded


                                                                                       City                      State   ZIP Code




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 4
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Debtor 1         Chris                 E.                      Carhart                      Case number (if known)
                 First Name            Middle Name             Last Name

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
    seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
    amounts from your accounts or refuse to make a payment because you owed a debt?

           No
           Yes. Fill in the details.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?

           No
           Yes

  Part 5:         List Certain Gifts and Contributions
13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

           No
           Yes. Fill in the details for each gift.

Gifts with a total value of more than $600             Describe the gifts                                      Dates you gave   Value
per person                                             Knife set                                               the gifts
Kexin Carhart                                                                                                        12/15         $1,500.00
Person to Whom You Gave the Gift

621 Seaview Court
Number     Street

Marco Island, FL 34145


City                          State    ZIP Code


Person's relationship to you Spouse

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600
    to any charity?


           No
           Yes. Fill in the details for each gift or contribution.

  Part 6:         List Certain Losses
15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
    other disaster, or gambling?

           No
           Yes. Fill in the details.




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                        page 5
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Debtor 1       Chris                   E.                    Carhart                        Case number (if known)
               First Name              Middle Name           Last Name


  Part 7:        List Certain Payments or Transfers
16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
       Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

           No
           Yes. Fill in the details.

                                                       Description and value of any property transferred        Date payment         Amount of
Miller, Hollander & jeda                               Attorneys fees $2,000; filing fees $335                  or transfer was      payment
Person Who Was Paid                                                                                             made

2430 Shadowlawn Drive, Suite                                                                                         07/27/16           $2,335.00
Number      Street

Naples, FL 34112


City                          State    ZIP Code


Email or website address


Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
    anyone who promised to help you deal with your creditors or to make payments to your creditors?
       Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
    property transferred in the ordinary course of your business or financial affairs?
       Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
       Do not include gifts and transfers that you have already listed on this statement.


           No
           Yes. Fill in the details.

                                                       Description and value of any           Describe any property or payments         Date transfer
John S Biallas Esquire                                 property transferred                   received or debts paid in exchange        was made
Person Who Received Transfer                           Advance payment retainer               $134,745                                     05/05/16
3 N 918 Sunrise Lane
Number      Street

St Charles, IL 60172


City                          State    ZIP Code

Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
    you are a beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.




Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 6
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Debtor 1        Chris                    E.                      Carhart                            Case number (if known)
                First Name               Middle Name             Last Name


  Part 8:         List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units
20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
    benefit, closed, sold, moved, or transferred?
       Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
       houses, pension funds, cooperatives, associations, and other financial institutions.

           No
           Yes. Fill in the details.

                                                           Last 4 digits of account       Type of account or          Date account     Last balance
                                                           number                         instrument                  was closed,      before closing
                                                                                                                      sold, moved,     or transfer
                                                                                                                      or transferred
Bank of America
Name of Financial Institution
                                                           XXXX- 9      6     9      6           Checking
                                                                                                 Savings
Number      Street
                                                                                                 Money market
                                                                                                 Brokerage
                                                                                                 Other

City                            State    ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
    for securities, cash, or other valuables?

           No
           Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
       No
       Yes. Fill in the details.

  Part 9:         Identify Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
    or hold in trust for someone.

           No
           Yes. Fill in the details.

                                                    Where is the property?                           Describe the property              Value

Carhart Inc                                                                                          Company computer, server,             $275.00
Owner's Name                                                                                         printer and office furniture
3512 White Eagle Drive                              3512 White Eagle Drive
Number      Street                                  Number     Street

Naperville, IL 60564                                Naperville, IL 60564


City                         State   ZIP Code       City                     State    ZIP Code




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 7
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Debtor 1        Chris                    E.                    Carhart                          Case number (if known)
                First Name               Middle Name           Last Name


  Part 10:        Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

       Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
       hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
       including statutes or regulations controlling the cleanup of these substances, wastes, or material.
       Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
       utilize it or used to own, operate, or utilize it, including disposal sites.

       Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
       substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
    law?


            No
            Yes. Fill in the details.

25. Have you notified any governmental unit of any release of hazardous material?
       No
       Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
    orders.

            No
            Yes. Fill in the details.

  Part 11:        Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
    business?

                 A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
                 A member of a limited liability company (LLC) or limited liability partnership (LLP)
                 A partner in a partnership
                 An officer, director, or managing executive of a corporation
                 An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.

                                                    Describe the nature of the business               Employer Identification number
Carhart Inc                                         Trade/brokerage                                   Do not include Social Security number or ITIN.
Business Name
                                                                                                      EIN: 3     6 – 3         3    9   3   2   9    4
3512 White Eagle Drive                              Name of accountant or bookkeeper
Number       Street
                                                                                                      Dates business existed
Naperville, IL 60564
                                                                                                      From       05/15             To

City                         State   ZIP Code




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 8
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Debtor 1       Chris                  E.                    Carhart                        Case number (if known)
               First Name             Middle Name           Last Name

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
    all financial institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.

 Part 12:        Sign Below
I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury
that answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



X /s/ Chris E. Carhart                                      X
   Chris E. Carhart, Debtor 1                                   Signature of Debtor 2

   Date       08/24/2016                                        Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    No
    Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    No
    Yes. Name of person                                                                          Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                 Declaration, and Signature (Official Form 119).




Official Form 107                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 9
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 Fill in this information to identify your case:
 Debtor 1              Chris              E.                      Carhart
                       First Name         Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 Case number
                                                                                                                                 Check if this is an
 (if known)
                                                                                                                                 amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                 12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the             Did you claim the property
                                                                        property that secures a debt?                 as exempt on Schedule C?

      Creditor's        Bank of America                                       Surrender the property.                      No
      name:                                                                   Retain the property and redeem it.           Yes
      Description of    3562 White Eagle Drive                                Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:
                                                                              Debtor will continue making payments to creditor without
                                                                              reaffirming.


 Part 2:           List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                               Will this lease be assumed?

      None.




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                       page 1
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Debtor 1     Chris               E.                  Carhart                        Case number (if known)
             First Name          Middle Name         Last Name


 Part 3:      Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Chris E. Carhart                               X
   Chris E. Carhart, Debtor 1                            Signature of Debtor 2

   Date 08/24/2016                                       Date
        MM / DD / YYYY                                           MM / DD / YYYY




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Bank of America
PO Box 31785
Tampa, FL 33631-3785



Cade Law Group LLC
PO Box 170887
Milwaukee, WI 53217



Carhart-Halaska Int'l LLC/Halaska Int't
c/o Cade Law Group
PO Box 596
Lake Bluff, Il 60044


Chris Halaska
c/o Cade Law Group, LLC
P.O. Box 596
Lake Bluff, IL 60044


Halaska International, LLC
c/o Cade Law Group, LLC
P.O. Box 596
Lake Bluff, IL 60044


Hinshaw & Culbertson, LLP
222 N. LaSalle Street, Suite 300
Chicago, IL 60601



Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346
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 Fill in this information to identify your case:
 Debtor 1             Chris                   E.                  Carhart
                      First Name              Middle Name         Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name         Last Name


 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 Case number
 (if known)
                                                                                                           Check if this is an amended filing


Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                              12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe
that you are exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are
filing together, and any of the exclusions in this statement applies to only one of you, the other person should complete a
separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:        Identify the Kind of Debts You Have
1.   Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary
     Petition for Individuals Filing for Bankruptcy (Official Form 101).

          No.    Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                 submit this supplement with the signed Form 122A-1.

          Yes. Go to Part 2.

 Part 2:        Determine Whether Military Service Provisions Apply to You
2.   Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
          No.    Go to line 3.
          Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
               10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                       No.    Go to line 3.
                       Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1,There is no presumption of abuse, and sign Part 3.
                            Then submit this supplement with the signed Form 122A-1.
3.   Are you or have you been a Reservist or member of the National Guard?
          No.    Complete Form 122A-1. Do not submit this supplement.
          Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
                No.    Complete Form 122A-1. Do not submit this supplement.
                Yes. Check any one of the following categories that applies:

                      I was called to active duty after September 11, 2001,              If you checked one of the categories to the left, go to
                      for at least 90 days and remain on active duty.                    Form 122A-1. On the top of page 1 of Form 122A-1, check
                      I was called to active duty after September 11, 2001,              box 3, The Means Test does not apply now and sign
                      for at least 90 days and was released from active duty on          Part 3. Then submit this supplement with the signed Form
                                            which is fewer than 540 days before I        122A-1. You are not required to fill out the rest of Official
                      file this bankruptcy case.                                         Form 122A-1 during the exclusion period. The exclusion
                                                                                         period means the time you are on active duty or are
                      I am performing a homeland defense activity for at                 performing a homeland defense activity, and for 540 days
                      least 90 days.                                                     afterward. 11 U.S.C. § 707(b)(2)(D)(ii).
                      I performed a homeland defense activity for at
                      least 90 days, ending on                        , which is         If your exclusion period ends before your case is closed,
                      fewer than 540 days before I file this bankruptcy case.            you may have to file an amended form later.




Official Form 122A-1Supp              Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                        page 1
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 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 122A-1Supp:
 Debtor 1           Chris                E.                    Carhart
                    First Name           Middle Name           Last Name                       1. There is no presumption of abuse.

 Debtor 2                                                                                      2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                          of abuse applies will be made under Chapter 7
                                                                                                  Means Test Calculation (Official Form 122A-2).
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA
                                                                                               3. The Means Test does not apply now because
 Case number                                                                                      of qualified military service but it could apply
 (if known)                                                                                       later.

                                                                                                 Check if this is an amended filing

Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On the top of any additional pages, write your name and case number (if known). If you believe that you
are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form
122A-1Supp) with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A        Column B
                                                                                            Debtor 1        Debtor 2 or
                                                                                                            non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                              page 1
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Debtor 1        Chris                             E.                               Carhart                                          Case number (if known)
                First Name                        Middle Name                      Last Name

                                                                                                                                         Column A     Column B
                                                                                                                                         Debtor 1     Debtor 2 or
                                                                                                                                                      non-filing spouse

5.   Net income from operating a business, profession, or farm

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from a business,                                                                               here
     profession, or farm

6.   Net income from rental and other real property

                                                              Debtor 1                       Debtor 2

     Gross receipts (before all
     deductions)

     Ordinary and necessary operating                     –                              –
     expenses
                                                                                                                       Copy
     Net monthly income from rental or                                                                                 here
     other real property

7.   Interest, dividends, and royalties

8.   Unemployment compensation

     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................


         For you............................................................................................................................

         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                   +                   +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                          +                =
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                          Total current
                                                                                                                                                                          monthly income




Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                                page 2
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Debtor 1       Chris                       E.                           Carhart                                    Case number (if known)
               First Name                  Middle Name                  Last Name


 Part 2:         Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

    12a.    Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                       Copy line 11 here                       12a.

            Multiply by 12 (the number of months in a year).                                                                                                               X          12

    12b.    The result is your annual income for this part of the form.                                                                                           12b.


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.


    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X    /s/ Chris E. Carhart                                                                      X
           Chris E. Carhart, Debtor 1                                                                     Signature of Debtor 2

           Date 8/24/2016                                                                                 Date
                MM / DD / YYYY                                                                                     MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 122A-2.

      If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                            page 3
